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                     UNITED STATES DISTRICT COURT
                     EASTER DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

TYLER L. BATTLES                                                 PLAINTIFF

vs.                       CASE NO.4:23-CV-593-BRW

SHELTER MUTUAL INSURANCE COMPANY                               DEFENDANT

       EXHIBIT D TO SHELTER’S MOTION FOR SUMMARY JUDGMENT
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